     Case: 1:24-cv-06226 Document #: 63 Filed: 12/04/24 Page 1 of 1 PageID #:715
                U.S. District Court for the Northern District Of Illinois
                              Attorney Appearance Form

             Hong Kong Leyuzhen Technology Co. Ltd.
             v. The Individuals, Corporations, Limited
 Case Title: LIability Companies, Partnerships and        Case Number: 1:24−cv−06226-GNA-YBK
             Unincorporated Assocations Identified in
             Schedule "A" Hereto

An appearance is hereby filed by the undersigned as attorney for:
Hong Kong Leyuzhen Technology Co. Ltd.
Attorney name (type or print): Katherine M. Kuhn

Firm: BAYRAMOGLU LAW OFFICES LLC

Street address: 1540 West Warm Springs Road Ste. 100

City/State/Zip: Henderson, NV, 89014

 Bar ID Number: 6331405                                   Telephone Number: (702) 462-5973
 (See item 3 in instructions)

Email Address: katherine@bayramoglu-legal.com

Are you acting as lead counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s general bar?                                    ✔ Yes             No

Are you a member of the court’s trial bar?                                          Yes       ✔ No
Are you appearing pro hac vice?                                                     Yes       ✔ No
If this case reaches trial, will you act as the trial attorney?                     Yes       ✔ No
If this is a criminal case, check your status.

                                                                     Retained Counsel
                                                                     Appointed Counsel
                                                                     If appointed counsel, are you a
                                                                         Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.


Executed on December 4, 2024

Attorney signature:           S/ Katherine M. Kuhn
                              (Use electronic signature if the appearance form is filed electronically.)
                                                                                          Revised 07/19/2023
